                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               Plaintiff,                      )
                                               )       Case No. 14-CR-00674
       v.                                      )
                                               )
ALDO BROWN                                     )       Judge Virginia M. Kendall
                                               )
               Defendant.                      )

                                DEFENDANT’S RESPONSE TO
                             GOVERNMENT’S MOTION IN LIMINE
                            TO BAR DEFENSE EXPERT TESTIMONY

       NOW COMES, the defendant, ALDO BROWN, by and through his attorney DANIEL Q.

HERBERT, from the Law Offices of Daniel Q. Herbert & Associates, respectfully submits this

response to the Government’s Motion In Limine to bar defense expert testimony and in response,

Defendant responds as follows:

       District courts have “particularly wide discretion” in admitting expert testimony. Kladis

v. Brezeh, 823 F.2d 1014, 1019 (1987) (quoting United States v. Tranowski, 659 F.2d 750, 755

(7th Cir. 1981). In determining the admissibility of expert opinion testimony, the court applies a

three-step analysis asking: (1) is the expert qualified?; (2) is the expert’s reasoning or

methodology reliable?; and (3) does the testimony help the trier of fact understand the evidence

or determine a fact in dispute? Ervin v. Johnson & Johnson, Inc., 492 F.3d 901, 904 (7th Cir.

2007). Defense expert, John B. Farrell (“Farrell”) is a qualified law enforcement expert in police

training and “use of force” by his many years of police experience and his extensive training in

the area of police officer’s use of force. (See Farrell’s curriculum vitae and expert report,




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attached herein as Exhibit 1). His opinions are based on facts “of a type reasonably relied upon

by experts” in the field of police work.

       On July 28, 2015 the Government filed its motion in limine to bar the testimony of

defense expert John B. Farrell (“Farrell”) or, in the alternative, order defense counsel disclose

certain statements made by defendant to Farrell. (Doc. # 53). The Government argues that it

cannot determine whether Farrell’s proposed testimony complies with Rule 702 and Daubert

because the defense refused to tender all of the bases of Farrell’s opinions, specifically

statements made by defendant to Farrell on July 9, 2015. As of August 25, 2015 defense counsel

tendered to the Government the July 9, 2015 statements made by defendant to Farrell, as

evidenced by Exhibit 2 of this motion. Accordingly, defendant has produced all statements

responsive to Government’s motion in limine. Thus, the Government is in a position in which it

can determine whether Farrell’s proposed testimony complies with Rule 702 and Daubert. As

such, the Court should deny the Government’s motion to bar Farrell’s proposed expert testimony

because defense counsel has fully complied with Rule 702 and Daubert.

       The Government also seeks to bar Farrell’s expert testimony because his opinions are

based in part on inadmissible hearsay statements, namely defendant’s July 9 statements. As an

initial matter, the statements are not hearsay and should be admissible at trial. However,

assuming arguendo that the statements are hearsay, an expert is not limited to relying on

admissible evidence in formulating his opinion. Boim v. Holy Land Found. For Relief & Dev.,

549 F.3d 685, 704 (7th Cir. 2008). To do so “would be a crippling limitation because experts

don't characteristically base their expert judgments on legally admissible evidence; the rules of

evidence are not intended for the guidance of experts.” Id. An expert is permitted wide latitude

to render opinions, including those not based on firsthand knowledge or observation. Daubert,




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509 U.S. at 592, 595. The information Farrell relied on when drawing his conclusions regarding

the proportionality of defendant’s use of force “need not be admissible in evidence” so long as

the facts or data on which he relied was “of a type reasonably relied upon by experts in the

particular field.” FED.RUL.EVID 703. Unfortunately, the video in this case does not contain audio.

Because of this critical fact, it would be impossible for anyone to properly opine on the

appropriateness of Defendant’s actions in this case without knowing what was being said and by

whom it was said at critical situations during the event at issue. Defendant’s first hand

observations of the incident are the type of facts reasonably relied upon by other experts in the

field. Moreover, to the extent the Government makes it appear as though Farrell’s expert opinion

is based solely on defendant’s statements, his report makes clear that he relied on data and facts

extraneous to those of defendant’s accounts. Regardless, because defendant’s statements are of a

type reasonably relied upon by other experts in the particular field, the Court should deny the

Government’s motion to exclude Farrell’s proposed expert testimony.

       As previously stated, on August 25, 2015 defense tendered to the Government

defendant’s July 9 statements. As such, defense has provided all of the bases of Farrell’s opinion

and is in full compliance with Rule 702 and Daubert. Likewise, with access to Farrell’s

underlying data and facts, any issue of ineffective cross-examination and potential prejudicial

effect of his testimony is alleviated.

       WHEREFORE, for the foregoing reasons, the Defendant respectfully requests that this

Court deny the Government’s motion in limine to bar defense expert testimony.

Dated: August 26, 2015


                                                      Respectfully Submitted,

                                                      /s/ Daniel Q. Herbert



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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on August 26, 2015, he caused a copy

of the foregoing DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION IN LIMINE

TO BAR DEFENSE EXPERT TESTIMONY to be filed electronically with the Clerk of the

Court through CM/ECF, which will send notification of such filing to all counsels of record.


                                                          /s/ Daniel Q. Herbert _____
                                                             Daniel Q. Herbert




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